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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


JOHN J. LISNER, DAVID M. SNELTEN, WILLIAM H. )
COLLINS, DALE A. BOLT, JONATHAN GALLAGHER, )
and JEFFREY LONKAR, as Trustees of the HEALTH   )
AND WELFARE FUND OF THE EXCAVATING,             )
GRADING AND ASPHALT CRAFT LOCAL NO. 731, )
                                                )
JOHN J. LISNER, DAVID M. SNELTEN, DALE A.       )        CIVIL ACTION
BOLT, JONATHAN GALLAGHER, WILLIAM H.            )
COLLINS, and ANUEL (AL) ADAMS, as Trustees      )        NO. 25 C 2679
of the LOCAL 731, I.B. OF T., EXCAVATORS AND    )
PAVERS PENSION TRUST FUND,                      )        JUDGE
                                                )
TEAMSTERS LOCAL UNION NO. 731                   )
EDUCATIONAL/SCHOLARSHIP FUND,                   )
                                                )
LABOR/MANAGEMENT COOPERATION                    )
COMMITTEE TASK FORCE FUND,                      )
                                                )
                                 Plaintiffs,    )
                                                )
        vs.                                     )
                                                )
LEEWAY WRECKING, INC., an Illinois corporation, )
                                                )
                                 Defendant.     )

                                COMPLAINT

      The Plaintiffs, JOHN J. LISNER, DAVID M. SNELTEN, WILLIAM H. COLLINS,

DALE A. BOLT, JONATHAN GALLAGHER, and JEFFREY LONKAR, as trustees of the

HEALTH AND WELFARE FUND OF THE EXCAVATING, GRADING AND ASPHALT

CRAFT LOCAL NO. 731 and JOHN J. LISNER, DAVID M. SNELTEN, DALE A. BOLT,

JONATHAN GALLAGHER, WILLIAM H. COLLINS, and ANUEL (AL) ADAMS, as Trustees

of the LOCAL 731, I.B. OF T., EXCAVATORS AND PAVERS PENSION TRUST FUND,
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TEAMSTERS LOCAL UNION NO. 731 EDUCATIONAL/SCHOLARSHIP FUND, and

LABOR/MANAGEMENT COOPERATION COMMITTEE TASK FORCE FUND, by their

attorneys, complaining of the Defendant, LEEWAY WRECKING, INC., an Illinois corporation,

allege as follows:

       1.      This action arises under the laws of the United States and is brought pursuant to the

Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§1132, 1145 (herein-

after referred to as "ERISA"). Jurisdiction is based upon the existence of questions arising

thereunder, as hereinafter more fully appears.

       2.      Plaintiffs bring this action in their capacity as Trustees of the HEALTH AND

WELFARE FUND OF THE EXCAVATING, GRADING AND ASPHALT CRAFT LOCAL NO.

731, LOCAL 731, I.B. OF T., EXCAVATORS AND PAVERS PENSION TRUST FUND,

TEAMSTERS LOCAL UNION NO. 731 EDUCATIONAL/SCHOLARSHIP FUND, and

LABOR/MANAGEMENT COOPERATION COMMITTEE TASK FORCE FUND, which are

"employee welfare benefit funds," and "plans," within the meaning of ERISA, Plaintiffs being the

now-acting fiduciaries thereof administering said Plans within this District.

       3.      Defendant is an "Employer" within the meaning of ERISA, which is obligated to

make fringe benefit contributions to Plaintiffs under the terms of the certain "Agreements and

Declarations of Trust," pursuant to which Plaintiff Funds are maintained and/or pursuant to the

terms of a collective bargaining agreement to which Defendant is obligated and to which the

Excavating, Grading, Asphalt, Private Scavengers, Automobile Salesroom Garage Attendants and

Linen and Laundry Drivers Local Union No. 731, affiliated with the International Brotherhood of

Teamsters, is also obligated.

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       4.      As an Employer obligated to make fringe benefit contributions to Plaintiffs under

the Agreements and Declarations of Trust, Defendant is specifically required to do the following:

               (a)    To submit to Plaintiffs for each month a report stating the names, social
                      security numbers, and total number of hours worked in such month by each
                      and every person on whose behalf contributions are required to be made by
                      Defendant to Plaintiffs; or, if no such persons are employed for a given
                      month, to submit a report so stating;

               (b)    To accompany the aforesaid reports with payment of contributions based
                      upon an hourly rate as stated in the applicable collective bargaining
                      agreement or agreements;

               (c)    To make all of its payroll books and records available to Plaintiffs for the
                      purpose of auditing same, to verify the accuracy of Defendant's past
                      reporting upon request made by Plaintiffs;

               (d)    To compensate Plaintiffs for the additional administrative costs and burdens
                      imposed by delinquency or untimely payment of contributions by way of
                      the payment of liquidated damages in the amount of ten (10%) percent of
                      any and all contributions which are not received by Plaintiffs for a particular
                      month prior to the 20th day of the succeeding month; effective May 9, 1991,
                      the amount of twenty (20%) percent of any and all contributions which are
                      not received by Plaintiffs for a particular month prior to the 20th day of the
                      succeeding month;

               (e)    To pay any and all costs incurred by Plaintiffs in auditing Defendant's
                      payroll records, should it be determined that Defendant was delinquent in
                      the reporting or submission of all contributions required of it to be made to
                      Plaintiffs;

               (f)    To pay Plaintiffs' reasonable attorneys' fees and costs necessarily incurred
                      in the prosecution of any action to require Defendant to submit its payroll
                      books and records for audit or to recover delinquent contributions;

               (g)    To furnish to Plaintiffs a bond with good and sufficient surety thereon, in
                      an amount acceptable to Plaintiffs, to cover future contributions due the
                      Plaintiffs.

       5.      Defendant is delinquent and has breached its obligations to Plaintiffs and its

obligations under the Plans in the following respect:

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               Defendant has failed and refused to submit all of its contribution reports to Plaintiffs
               due, to date, and/or, has failed to make payment of all contributions acknowledged
               by Defendant thereon to be due Plaintiffs. Defendant is, therefore, subject to
               liquidated damages and interest, as authorized by the Trust Agreements. Plaintiffs
               have assessed liquidated damages and interest against the Defendant, as authorized
               by the Trust Agreements, but Defendant has failed and refused to make payment of
               said liquidated damages and interest.

       6.      That upon careful review of all records maintained by Plaintiffs, and after

application of any and all partial payments made by Defendant, there is a total of at least $5,407.50,

known to be due Plaintiffs from Defendant, based upon Defendant's failure to submit all required

reports, and subject further to the possibility that additional contributions, liquidated damages and

interest will come due during the pendency of this lawsuit.

       7.      Plaintiffs have requested that Defendant perform its obligations as aforesaid, but

Defendant has failed and refused to so perform.

       8.      Defendant's continuing refusal and failure to perform its obligations to Plaintiffs is

causing and will continue to cause irreparable injuries to Plaintiffs for which Plaintiffs have no

adequate remedy at law.

       WHEREFORE, Plaintiffs pray:

       (A)     That an account be taken as to all employees of Defendant covered by the collective
               bargaining agreement as to wages received and hours worked by such employees
               to determine amounts required to be paid to the Plaintiffs, covering the period for
               which the collective bargaining agreement is to be effective;

       (B)     That Defendant be enjoined and ordered to submit all delinquent monthly
               contribution reports to Plaintiffs stating the information required to be stated
               thereon, and to continue submitting such reports while this action is pending;

       (C)     That judgment be entered in favor of Plaintiffs and against Defendant for all unpaid
               contributions for the period July 2024 to date, liquidated damages, the costs of
               auditing Defendant's records, and Plaintiffs' reasonable attorneys' fees and Court
               costs necessarily incurred in this action as specified herein, or as subsequently
               determined, all as provided for in the Plans and in ERISA;
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          (D)       That Defendant be permanently enjoined and ordered to perform specifically its
                    obligations to Plaintiffs, and in particular, to continue to submit the required reports
                    and contributions due thereon to Plaintiffs in a timely fashion as required by the
                    Plans and by ERISA;

          (E)       That Plaintiffs have such further relief as may be deemed just and equitable by the
                    Court, all at Defendant's cost.


                                                                    /s/ Destiny A. Collins

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